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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 In re Entresto (Sacubitril/Valsartan) Patent
 Litigation                                           C.A. No. 20-md-2930-RGA


 NOVARTIS PHARMACEUTICALS
 CORPORATION,

                Plaintiff,

        v.                                            C.A. No. 19-1979-RGA

 ALKEM LABORATORIES LTD., et al.,

                Defendants.




           CRYSTAL PHARMACEUTICAL (SUZHOU) CO., LTD.’S MOTION
          TO STRIKE THE EXPERT REPORTS OF ROBIN D. ROGERS, Ph.D.

       Pursuant to Paragraph 11 of the Court’s Scheduling Order (D.I. 137 in No. 19-cv-1979;

D.I. 102 in No. 20-md-2930), Defendant Crystal Pharmaceutical (Suzhou) Co., Ltd. respectfully

moves the Court to strike the reply and sur-sur reply expert reports of Plaintiff Novartis

Pharmaceutical Corporation’s expert Robin D. Rogers, Ph.D. for the reasons set forth in the letter

accompanying this motion.
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                                      HEYMAN ENERIO
                                      GATTUSO & HIRZEL LLP


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Dated: June 10, 2022




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